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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

YAMELY GUERRERO,

       Plaintiff(s),                                    CASE NO.: 8:17-CV-134-JDW-TGW

v.

OB HOSPITALIST GROUP, LLC, et al.,

      Defendant(s).
_____________________________/

      STIPULATED NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       COME NOW, Plaintiff, YAMELY GUERRERO (“Plaintiff”), and Defendants, OB

HOSPITALIST GROUP, LLC, and AMERIFINANCIAL SOLUTIONS, LLC (collectively

“Defendants”), by and through the undersigned counsel, hereby stipulate pursuant to Fed. R. Civ.

P. 41 and agree that all matters alleged by Plaintiff in this action have been compromised and

settled, and that Plaintiff’s cause against Defendants should be dismissed, with prejudice, with

each party to bear its own costs and attorneys’ fees.




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        Respectfully submitted this September 20, 2017,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 20 day of September, 2017, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send a notice of

electronic filing to all counsel of record.


                                                      /s/ Kaelyn Steinkraus
                                                      Kaelyn Steinkraus, Esq.
                                                      Florida Bar No. 125132
